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                  EXHIBIT “1”
Case 2:22-cv-04118-FMO-AS Document 1-1 Filed 06/15/22 Page 2 of 4 Page ID #:29



   1   Danielle Hultenius Moore (SBN 232480)
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   2   Aaron F. Olsen (SBN 224947)
          E-Mail: aolsen@fisherphillips.com
   3   Christopher M. Champine (SBN 323385)
          E-Mail: cchampine@fisherphillips.com
   4   FISHER & PHILLIPS LLP
       4747 Executive Drive, Suite 1000
   5   San Diego, California 92121
       Telephone: (858) 597-9600
   6   Facsimile: (858) 597-9601

   7   Attorneys for Defendant, INTERNATIONAL PAPER COMPANY

   8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9                   FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT
  10   TRAVONNE BORDERS, an individual,                 CASE NO. 22STCV15935
                                                        [Unlimited Jurisdiction]
  11                          Plaintiff,
                                                        Assigned for all purposes to the
  12           v.                                       Honorable Jon R. Takasugi, Dept. 17
  13   INTERNATIONAL PAPER COMPANY,                     DEFENDANT INTERNATIONAL PAPER
       a New York corporation; ANGIE DOE, an            COMPANY’S NOTICE TO ADVERSE
  14   individual; and DOES 1 through 20,               PARTY OF REMOVAL OF ACTION TO
       inclusive,                                       FEDERAL COURT
  15
                              Defendants.               Complaint:        5-12-2022
  16                                                    Trial Date:       [not set]
  17

  18           TO PLAINTIFF TRAVONNE BORDERS AND HIS COUNSEL OF RECORD:

  19           PLEASE TAKE NOTICE that, on June 17, 2022, Defendant International Paper

  20   Company (“Defendant”), through undersigned counsel, filed a Notice of Removal pursuant to

  21   28 U.S.C. §§ 1332, 1441, and 1446 in the above-captioned action, removing the above-captioned

  22   action to the United States District Court for the Central District of California. A true and correct

  23   copy of the Notice is attached hereto as Exhibit 1 (without re-attaching this document as part of

  24   the exhibit).

  25   //

  26   //

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  28   //
                                                        1
                               DEFENDANT INTERNATIONAL PAPER COMPANY’S
                    NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
       FP 44152671.1
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   1           Pursuant to 28 U.S.C section 1446(d), the filing of the aforesaid Petition for Removal in

   2   the District Court, together with the filing of this Notice with this Court and notice to all adverse

   3   parties, effects the removal of this action, and this Court may not proceed further with the above-

   4   captioned litigation unless and until the case is remanded.

   5

   6   DATE: June 15, 2022                          FISHER & PHILLIPS LLP
   7

   8                                          By:
                                                    Danielle Hultenius Moore
   9                                                Aaron F. Olsen
                                                    Christopher M. Champine
  10                                                Attorneys for Defendant
                                                    INTERNATIONAL PAPER COMPANY
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                             DEFENDANT INTERNATIONAL PAPER COMPANY’S
                  NOTICE TO ADVERSE PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
       FP 44152671.1
Case 2:22-cv-04118-FMO-AS Document 1-1 Filed 06/15/22 Page 4 of 4 Page ID #:31



   1                                       PROOF OF SERVICE
                                         (CCP §§1013(a) and 2015.5)
   2
               I, the undersigned, am at least 18 years old and not a party to this action. I am employed
   3   in the County of San Diego with the law offices of Fisher & Phillips LLP and its business address
       is 4747 Executive Drive, Suite 1000, San Diego, California 92121.
   4
              On the below date, I served the following document(s) DEFENDANT
   5   INTERNATIONAL PAPER COMPANY’S NOTICE TO ADVERSE PARTY OF
       REMOVAL OF ACTION TO FEDERAL COURT on the person(s) listed below with the
   6   original  a true copy thereof enclosed addressed as follows:

   7    Samvel Setyan (SBN 325831)                         Attorney for Plaintiff, Travonne Borders
        SETYAN LAW, APC
   8    750 E. Green Street, Suite 310                     T: 213-618-3655
        Pasadena, California 91101                         E: s.setyan@setyanlaw.com
   9
              [by ELECTRONIC SERVICE] - Based on a court order or an agreement of the parties
  10           to accept service by electronic transmission, I electronically served the document(s) to
               the person(s) at the electronic service address(es) listed above.
  11          [by MAIL] - I enclosed the document(s) in a sealed envelope or package addressed to
               the person(s) whose address(es) are listed above and placed the envelope for collection
  12           and mailing, following our ordinary business practices. I am readily familiar with this
               business’s practice for collecting and processing correspondence for mailing. On the
  13           same day that correspondence is placed for collection and mailing, it is deposited in the
               ordinary course of business with the United States Postal Service in San Diego California,
  14           in a sealed envelope with postage fully prepaid.
              [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice for collection
  15           and processing of correspondence for overnight delivery by Federal Express. Under that
               practice such correspondence will be deposited at a facility or pick-up box regularly
  16           maintained by Federal Express for receipt on the same day in the ordinary course of
               business with delivery fees paid or provided for in accordance with ordinary business
  17           practices.
  18          I declare under penalty of perjury, under the laws of the State of California, that the
       foregoing is true and correct.
  19
               Executed June 15, 2022, at San Diego, California.
  20
           Susan Jackson                             By:
  21                       Print Name                                         Signature

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                                              PROOF OF SERVICE
       FP 44152671.1
